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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF GEORGIA
                            STATESBORO DIVISION



UNITED STATES OF AMERICA

V.                                             CR622-OIO


DOMANEK LAQUAN MINCEY



                ORDER ON MOTION FOR LEAVE OF ABSENCE



      Amy Lee Copeland having made application to the Court for a leave of

absence, and it being evident from the application that the provisions of Local Rule 83.9

have been complied with, and no objections having been received;

      IT IS HEREBY ORDERED THAT Amy Lee Copeland be granted leave of

absence for the following periods: June 12, 2023 through June 16, 2023.

      SO ORDERED,this the                   of May, 2023.




                                        J. RANEtAL HALL, CHIEF JUDGE
                                            [TED^IfATES DISTRICT COURT
                                        SOUTHERN DISTRICT OF GEORGIA
